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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

  MARTIN A. BLASNEK,

         Plaintiff,
                                                         Case No. 6:19-cv-00597-JCB-KNM
  v.

  EDWARD SLOAN AND ASSOCIATES,
  INC.,

         Defendant.

                                  NOTICE OF SETTLEMENT

        PLEASE TAKE NOTICE that MARTIN A. BLASNEK (“Plaintiff”) and EDWARD

 SLOAN AND ASSOCIATES, INC. (“Defendant”), hereby notify the Court the parties have

 reached settlement, and are in the process of completing the settlement agreement and filing

 dismissal papers. The parties anticipate filing dismissal papers within 45 days.



  DATED: January 10, 2021                             Respectfully submitted,

                                                      MARTIN A. BLASNEK

                                                      By: /s/ Mohammed O. Badwan

                                                      Mohammed O. Badwan
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